       Case 1:25-cv-00465-TNM          Document 47        Filed 04/21/25      Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


U.S. CONFERENCE OF
CATHOLIC BISHOPS,

              Plaintiff,
                                                        Civil Action No. 25-0465 (TNM)
       v.

DEPARTMENT OF STATE, et al.,

              Defendants.


                           DEFENDANTS’ MOTION TO DISMISS

       Defendants, by and through the undersigned counsel, respectfully move to dismiss

Plaintiff’s Complaint pursuant to Federal Rule of Civil Procedure 12(b)(1).

       This motion is based on the attached memorandum of points and authorities, the supporting

documents, and upon such arguments as the Court may allow at a hearing. A proposed order is

attached.

Dated: April 21, 2025                             Respectfully submitted,
       Washington, DC
                                                  EDWARD R. MARTIN, JR., D.C. Bar #481866
                                                  United States Attorney

                                                  BRIAN P. HUDAK
                                                  Chief, Civil Division

                                                  By:           /s/ Joseph F. Carilli, Jr.
                                                        JOSEPH F. CARILLI, JR.
                                                        Assistant United States Attorney
                                                        601 D Street, NW
                                                        Washington, DC 20530
                                                        (202) 252-2525

                                                  Attorneys for the United States of America
        Case 1:25-cv-00465-TNM      Document 47      Filed 04/21/25     Page 2 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


U.S. CONFERENCE OF
CATHOLIC BISHOPS,

               Plaintiff,
                                                   Civil Action No. 25-0465 (TNM)
        v.

DEPARTMENT OF STATE, et al.,

               Defendants.


                                  [PROPOSED] ORDER

        UPON CONSIDERATION of Defendants’ motion to dismiss and the entire record herein,

it is hereby

        ORDERED that Defendants’ motion is GRANTED; and it is further

        ORDERED that this action is DISMISSED WITHOUT PREJUDICE.

SO ORDERED:



________________                                ___________________________________
Date                                            TREVOR N. MCFADDEN
                                                United States District Judge
